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13

14                               UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16

17 ERIC FISHON, individually and on behalf of   Case No. 3:16-CV-06980-RS
   all others similarly situated,
18                                              Hon. Richard Seeborg

19                 Plaintiff,                   DEFENDANT PREMIER NUTRITION’S
                                                ANSWER TO PLAINTIFF MARY BETH
20          v.                                  MONTERA’S SECOND AMENDED
                                                COMPLAINT
21 PREMIER NUTRITION CORPORATION
   f/k/a JOINT JUICE, INC.                      CLASS ACTION
22
                 Defendant.
23                                              Action Filed: December 05, 2016

24                                              Jury Trial Demanded

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           PREMIER NUTRITION’S ANSWER TO PLTF. MARY BETH MONTERA’S SECOND
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 1          Premier Nutrition Company, LLC (formerly known as, and as named in this action,
 2   Premier Nutrition Corporation) (“Premier”) answers the Second Amended Class Action
 3   Complaint of Plaintiff Mary Beth Montera (“Plaintiff”) as follows. Unless otherwise expressly
 4   stated below, Premier denies each and every allegation of the Second Amended Complaint
 5   (“SAC”).
 6                                    NATURE OF THE ACTION
 7          1.      Paragraph 1 of Plaintiff’s SAC contains legal conclusions, and to that extent does
 8   not require an answer. To the extent that Paragraph 1 requires an answer, Premier admits that it
 9   sells the “Joint Juice” products (hereinafter the “Products”) as a dietary supplement to help
10   maintain and support joint well-being, as limited by the disclaimer on the Products’ labeling and
11   Joint Juice website and television advertising that states that the Products “are not intended to
12 diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to Premier’s

13 advertising, marketing, packaging, and/or Product labeling, that material speaks for itself.

14 Premier denies each and every other allegation in Paragraph 1 not specifically admitted.

15          2.      Answering Paragraph 2 of Plaintiff’s SAC, Premier admits that it sells the
16   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
17   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
18   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
19   Paragraph 2 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
20   material speaks for itself. Premier denies each and every other allegation in Paragraph 2 not
21   specifically admitted.
22          3.      Answering Paragraph 3 of Plaintiff’s SAC, Premier admits that it sells the
23   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
24   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
25   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
26   Paragraph 3 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
27   material speaks for itself. Premier denies each and every other allegation in Paragraph 3 not
28   specifically admitted.
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 1          4.      Answering Paragraph 4 of Plaintiff’s SAC, Premier admits that it sells the
 2   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
 3   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
 4   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
 5   Paragraph 4 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
 6   material speaks for itself. Premier denies each and every other allegation in Paragraph 4 not
 7   specifically admitted.
 8          5.      Paragraph 5 of Plaintiff’s SAC contains legal conclusions, and to that extent does
 9   not require an answer. Premier admits that it has sold over $100 million dollars of the Products
10   since 2009. Premier denies each and every other allegation in Paragraph 5 not specifically
11   admitted.
12          6.      Paragraph 6 of Plaintiff’s SAC contains legal conclusions, and to that extent does
13   not require an answer. To the extent that Paragraph 6 requires an answer, Premier denies each of
14   the allegations contained in Paragraph 6.
15          7.      Paragraph 7 of Plaintiff’s SAC contains legal conclusions, and to that extent does
16   not require an answer. To the extent that Paragraph 7 requires an answer, Premier denies each of
17   the allegations contained in Paragraph 7.
18                                   JURISDICTION AND VENUE
19          8.      Paragraph 8 of Plaintiff’s SAC contains legal conclusions, and to that extent does
20   not require an answer.
21          9.      Paragraph 9 of Plaintiff’s SAC contains legal conclusions, and to that extent does
22   not require an answer. To the extent that Paragraph 9 requires an answer, Premier admits that it
23   has marketed, promoted, distributed, and sold the Products in California.
24          10.     Paragraph 10 of Plaintiff’s SAC contains legal conclusions, and to that extent
25   does not require an answer. To the extent that Paragraph 10 requires an answer, Premier admits
26   that it conducts business and is headquartered in the District.
27          11.     Paragraph 11 of Plaintiff’s SAC contains legal conclusions, and to that extent
28   does not require an answer. To the extent that Paragraph 11 requires an answer, Premier admits
                                                       -2-
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 1   that it is currently headquartered in Emeryville, California, which is in Alameda County.
 2                                              PARTIES
 3 Plaintiff

 4          12.     Answering Paragraph 12 of Plaintiff’s SAC, Premier lacks sufficient knowledge
 5 or information to form a belief as to where Ms. Montera resides, her state of citizenship,

 6 whether she in fact purchased the referenced Product, her belief regarding the Product or its

 7   related advertisements and labeling, and her reasons for allegedly purchasing the Product; on
 8   that basis, Premier denies these allegations in Paragraph 12. To the extent Paragraph 12 refers to
 9 the labels on the Product, the labels speak to themselves. Premier denies each and every other

10 allegation in Paragraph 12.

11          13.     Answering Paragraph 13 of Plaintiff’s SAC, Premier lacks sufficient knowledge
12 or information to form a belief as to Ms. Montera’s beliefs regarding the Product or its related

13 advertisement and labeling, and her reasons for allegedly purchasing the Product; on that basis,

14 Premier denies these allegations in Paragraph 13. Premier denies each and every other

15 allegation in Paragraph 13.

16 Defendant

17          14.     Answering Paragraph 14 of Plaintiff’s SAC, Premier admits that it was formerly
18 a Delaware corporation; effective September 2019, Premier became a limited liability company

19 under the Delaware LLC Act. Premier admits that, as of the date the initial Complaint was filed

20 in this action, it was headquartered at 5905 Christie Avenue, Emeryville, California, 94608;

21   effective October 2018, Premier is headquartered at 1222 67th Street, Suite 210, Emeryville,
22   CA, 94608. Premier admits that it was previously headquartered at 188 Spear Street, Suite 600,
23   San Francisco, California 94105. Premier admits that, as of August 2013, it became a wholly
24   owned subsidiary of Post Holdings, Inc.; effective September 2019, Premier became a wholly
25   owned subsidiary of Dymatize Enterprises, LLC. Premier admits that it is a manufacturer of
26   high-protein nutrition products, including ready-to-drink shakes, bars, powders, and cookies.
27   Premier admits that it has manufactured, advertised, marketed, distributed, and/or sold the
28   referenced Products throughout the United States, including its website. Premier admits that its
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 1   Chief Executive Officer, Chief Financial Officer, Chief Operating Officer, research and
 2   development personnel, and customer service personnel have been located in California,
 3   however, not all marketing or sales employees have been located in California. Premier admits
 4   that its advertising agency was located in San Francisco. The term “retail distribution vendor” is
 5   vague and ambiguous, and therefore Premier lacks sufficient knowledge or information to admit
 6   or deny the allegations regarding its “retail distribution vendor.” Premier denies each and every
 7   other allegation in Paragraph 14.
 8          15.     Answering Paragraph 15 of Plaintiff’s SAC, Premier admits that Joint Juice was
 9   formerly a California corporation headquartered at 120 Howard Street, Suite 600, San
10   Francisco, California 94105. Premier admits that it was formerly known as Joint Juice, Inc. and
11   under that name it manufactured, advertised, marketed, distributed, and sold the Products
12   throughout the United States. Premier admits that the date of the acquisition described in
13   Paragraph 15 is accurate. Premier denies each and every other allegation in Paragraph 15.
14          16.     Answering Paragraph 16 of Plaintiff’s SAC, Premier admits that the former CEO
15   of Premier had worked out of San Francisco and that an advertising agency used by Joint Juice
16   was located in San Francisco; however, not all marketing employees have been located in
17   California. Premier admits that the current President of Premier works from Emeryville.
18   Premier admits that the Products were originally developed by Dr. Kevin Stone at the Stone
19   Clinic in San Francisco. Premier denies each and every other allegation in Paragraph 16.
20                                       FACTUAL ALLEGATIONS
21   The Joint Juice Products
22          17.     Answering Paragraph 17 of Plaintiff’s SAC, Premier denies that it has
23   distributed, marketed, and/or sold the Products since 1999.
24          18.     Answering Paragraph 18 of Plaintiff’s SAC, Premier admits that the Products
25   have been sold by the third-party retailers listed in Paragraph 18 and through its website.
26          19.     Answering Paragraph 19 of Plaintiff’s SAC, Premier admits that the Products
27   have been sold as drink mix packets, eight-ounce beverage bottles, and “Easy Shot” bottles.
28   However, the Products are often sold at discounts and retail prices have varied. Premier denies
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 1   each and every allegation in Paragraph 19 not specifically admitted.
 2           20.     Answering Paragraph 20 of Plaintiff’s SAC, Premier admits that the Products
 3   contain 1,500 mg of glucosamine hydrochloride plus chondroitin. To the extent Paragraph 20
 4   refers to the Product packaging, the packaging speaks for itself.
 5           21.     Answering Paragraph 21 of Plaintiff’s SAC, Premier admits that the allegations
 6   in Paragraph 21; however, glucosamine used in Premier’s Products has also been derived from
 7   vegetarian sources.
 8           22.     Answering Paragraph 22 of Plaintiff’s SAC, Premier admits that some other
 9   glucosamine products contain glucosamine sulfate.
10           23.     Answering Paragraph 23 of Plaintiff’s SAC, Premier admits the allegations in
11   Paragraph 23.
12           24.     Answering Paragraph 24 of Plaintiff’s SAC, Premier denies that glucosamine
13   hydrochloride is always less expensive than glucosamine sulfate.
14           25.     Answering Paragraph 25 of Plaintiff’s SAC, to the extent Paragraph 25
15   references a scientific study, the study speaks for itself. Premier lacks sufficient knowledge or
16   information to admit or deny each and every other allegation in Paragraph 25.
17           26.     Answering Paragraph 26 of Plaintiff’s SAC, Premier admits the allegations in
18   Paragraph 26.
                                                                                   1
19   Defendant’s False and Deceptive Advertising for the Joint Juice Products
20           27.     Answering Paragraph 27 of Plaintiff’s SAC, Premier admits that it sells the
21 Products as a dietary supplement to help maintain and support joint well-being, as limited by the

22 disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not

23 intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to

24 Premier’s advertising, marketing, packaging, and/or Product labeling, that material has varied

25 over time and speaks for itself. Premier denies each and every other allegation in Paragraph 27

26

27   1
    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
28 statement requires an answer, Premier denies this allegation in its entirety.
                                                       -5-
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 1   not specifically admitted.
 2          28.     Answering Paragraph 28 of Plaintiff’s SAC, Premier admits that glucosamine
 3   hydrochloride and chondroitin sulfate are active ingredients in the Products. To the extent
 4   Plaintiff refers to Premier’s advertising, marketing, packaging, and/or Product labeling, that
 5   material speaks for itself. Premier denies each and every other allegation in Paragraph 28 not
 6   specifically admitted.
 7          29.     Answering Paragraph 29 of Plaintiff’s SAC, Premier admits that it sells the
 8   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
 9   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
10   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
11   Premier’s advertising, marketing, packaging and/or Product labeling, that material speaks for
12   itself. Premier denies each and every other allegation in Paragraph 29 not specifically admitted.
13          30.     Answering Paragraph 30 of Plaintiff’s SAC, to the extent the allegations in
14 Paragraph 30 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that

15   material speaks for itself. Premier denies each and every other allegation in Paragraph 30.
16          31.     Answering Paragraph 31 of Plaintiff’s SAC, Premier admits that it sells the
17 Products as a dietary supplement to help maintain and support joint well-being, as limited by the

18 disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not

19 intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in

20 Paragraph 31 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that

21   material speaks for itself. Premier denies each and every other allegation in Paragraph 31 not
22   specifically admitted.
23          32.     Paragraph 32 of Plaintiff’s SAC contains legal conclusions, and to that extent
24   does not require an answer. To the extent the allegations in Paragraph 32 require an answer, and
25   to the extent the allegations refer to Premier’s advertising, marketing, packaging, and/or Product
26   labeling, that material speaks for itself. To the extent the allegations in Paragraph 32 do not
27   accurately reflect the above-mentioned material, Premier denies the allegations. Premier denies
28   each and every other allegation in Paragraph 32 not specifically admitted.
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 1           33.    To the extent the allegations in Paragraph 33 refer to any of Premier’s
 2   advertising, marketing, packaging, and/or Product labeling, including on its website, that
 3   material speaks for itself. Premier denies each and every other allegation in Paragraph 33.
 4           34.    Answering Paragraph 34 of Plaintiff’s SAC, Premier admits that former
 5   professional football player Joe Montana was a spokesman for the Products. To the extent the
 6   allegations in Paragraph 34 refer to Premier’s advertising, marketing, packaging, and/or Product
 7 labeling, including Joe Montana’s statements for Premier’s television commercial, that material

 8 speaks for itself. Premier denies each and every other allegation in Paragraph 34 not specifically

 9 admitted.

10           35.    Answering Paragraph 35 of Plaintiff’s SAC, Premier admits that Products’
11 packaging features the Arthritis Foundation Logo. To the extent the allegations in Paragraph 35

12 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that material

13 speaks for itself. Premier denies each and every other allegation in Paragraph 35 not specifically

14 admitted.

15           36.    To the extent the allegations in Paragraph 36 refer to Premier’s packaging,
16 advertising, marketing, and/or Product labeling, that material speaks for itself. Premier denies

17 each and every other allegation in Paragraph 36 not specifically admitted.

18           37.    Answering Paragraph 37 of Plaintiff’s SAC, Premier admits that the pictures
19 included in Plaintiff’s SAC appear to be accurate, partial representations of the current

20 packaging of certain Products.

21 Scientific Studies Confirm That Joint Juice Is Not Effective And Defendant’s Health Benefits
                                       2
22 Message Is False And Deceptive

23           38.    Answering Paragraph 38 of Plaintiff’s SAC, Premier denies the allegations in
24 Paragraph 38.

25           39.    Answering Paragraph 39 of Plaintiff’s SAC, Premier admits that Paragraph 39
26

27   2
      Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
28   statement requires an answer, Premier denies this allegation in its entirety.
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 1   accurately quotes the Reference Manual on Scientific Evidence. Premier denies that all meta-
 2   analysis studies have concluded that glucosamine and chondroitin do nothing. Premier denies
 3   each and every other allegation in Paragraph 39 not specifically admitted.
 4          40.      Without admitting that the study cited in Paragraph 40 of Plaintiff’s SAC is
 5   relevant to this action, that study speaks for itself and, on that basis, Paragraph 40 does not
 6   require an answer. However, to the extent the allegations in Paragraph 40 do not accurately
 7   reflect the study, Premier denies the allegations.
 8          41.      Without admitting that the study cited in Paragraph 41 of Plaintiff’s SAC is
 9   relevant to this action, that study speaks for itself and, on that basis, Paragraph 41 does not
10   require an answer. However, to the extent the allegations in Paragraph 41 do not accurately
11   reflect the study, Premier denies the allegations.
12          42.      Without admitting that the study cited in Paragraph 42 of Plaintiff’s SAC is
13   relevant to this action, that study speaks for itself and, on that basis, Paragraph 42 does not
14   require an answer. However, to the extent the allegations in Paragraph 42 do not accurately
15   reflect the study, Premier denies the allegations.
16          43.      Without admitting that the study cited in Paragraph 43 of Plaintiff’s SAC is
17   relevant to this action, that study speaks for itself and, on that basis, Paragraph 43 does not
18   require an answer. However, to the extent the allegations in Paragraph 43 do not accurately
19   reflect the study, Premier denies the allegations.
20          44.      Answering Paragraph 44 of the SAC, Plaintiff does not identify the studies on
21   which she bases her allegations and accordingly, Premier lacks sufficient knowledge or
22   information to form a belief as to those studies.
23          45.      Without admitting that the study cited in Paragraph 45 of Plaintiff’s SAC is
24   relevant to this action, that study speaks for itself and, on that basis, Paragraph 45 does not
25   require an answer. However, to the extent the allegations in Paragraph 45 do not accurately
26   reflect the study, Premier denies the allegations. Premier denies remaining allegations in
27   Paragraph 45.
28          46.      Without admitting that the studies cited in Paragraph 46 of Plaintiff’s SAC are
                                                          -8-
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 1   relevant to this action, those studies speak for themselves and, on that basis, Paragraph 46 does
 2 not require an answer. However, to the extent the allegations in Paragraph 46 do not accurately

 3 reflect those studies, Premier denies the allegations.

 4          47.     Without admitting that the study cited in Paragraph 47 of Plaintiff’s SAC is
 5   relevant to this action, that study speaks for itself and, on that basis, Paragraph 47 does not
 6   require an answer. However, to the extent the allegations in Paragraph 47 do not accurately
 7   reflect the study, Premier denies the allegations.
 8          48.     Without admitting that the studies cited in Paragraph 48 of Plaintiff’s SAC are
 9   relevant to this action, those studies speak for themselves and, on that basis, Paragraph 48 does
10 not require an answer. However, to the extent the allegations in Paragraph 48 do not accurately

11 reflect the studies, Premier denies the allegations.

12          49.     Without admitting that the study cited in Paragraph 49 of Plaintiff’s SAC is
13   relevant to this action, that study speaks for itself and, on that basis, Paragraph 49 does not
14   require an answer. However, to the extent the allegations in Paragraph 49 do not accurately
15   reflect the study, Premier denies the allegations.
16          50.     Answering Paragraph 50 of Plaintiff’s SAC, Plaintiff does not identify the
17   studies on which she bases her allegations and accordingly, Premier lacks sufficient knowledge
18   or information to form a belief as to those studies.
19          51.     Answering Paragraph 51 of Plaintiff’s SAC, Plaintiff does not identify the
20   studies on which she bases her allegations and accordingly, Premier lacks sufficient knowledge
21   or information to form a belief as to those studies.
22          52.     Without admitting that the study cited in Paragraph 52 of Plaintiff’s SAC is
23   relevant to this action, that study speaks for itself and, on that basis, Paragraph 52 does not
24   require an answer. However, to the extent the allegations in Paragraph 52 do not accurately
25   reflect the study, Premier denies the allegations.
26          53.     Without admitting that the study cited in Paragraph 53 of Plaintiff’s SAC is
27   relevant to this action, that study speaks for itself and, on that basis, Paragraph 53 does not
28   require an answer. However, to the extent the allegations in Paragraph 53 do not accurately
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 1   reflect the study, Premier denies the allegations.
 2          54.     Answering Paragraph 54 of Plaintiff’s SAC, Premier denies that there is uniform
 3   consensus that glucosamine and chondroitin do not work. Without admitting that the guidelines
 4   cited in Paragraph 54 of Plaintiff’s SAC are relevant to this action, the guidelines speak for
 5   themselves and, to that extent, Paragraph 54 does not require an answer. However, to the extent
 6   the allegations in Paragraph 54 do not accurately reflect the guidelines, Premier denies the
 7   allegations. Premier denies each and every other allegation not specifically admitted.
 8          55.     Without admitting that the studies and guidelines cited in Paragraph 55 of
 9   Plaintiff’s SAC are relevant to this action, the studies and guidelines speak for themselves and,
10   on that basis, Paragraph 55 does not require an answer. However, to the extent the allegations in
11   Paragraph 55 do not accurately reflect the studies and guidelines, Premier denies the allegations.
12          56.     Without admitting that the guidelines cited in Paragraph 56 of Plaintiff’s SAC
13   are relevant to this action, the guidelines speak for themselves and, on that basis, Paragraph 56
14   does not require an answer. However, to the extent the allegations in Paragraph 56 do not
15   accurately reflect the guidelines, Premier denies the allegations.
16          57.     Without admitting that the guidelines cited in Paragraph 57 of Plaintiff’s SAC
17   are relevant to this action, the guidelines speak for themselves and, on that basis, Paragraph 57
18   does not require an answer. However, to the extent the allegations in Paragraph 57 do not
19   accurately reflect the guidelines, Premier denies the allegations.
20          58.     Without admitting that the study cited in Paragraph 58 of Plaintiff’s SAC is
21   relevant to this action, that study speaks for itself and, on that basis, Paragraph 58 does not
22   require an answer. However, to the extent the allegations in Paragraph 58 do not accurately
23   reflect the study, Premier denies the allegations.
24          59.     Without admitting that the study cited in Paragraph 59 of Plaintiff’s SAC is
25   relevant to this action, that study speaks for itself and, on that basis, Paragraph 59 does not
26   require an answer. However, to the extent the allegations in Paragraph 59 do not accurately
27   reflect the study, Premier denies the allegations. Premier denies each and every other allegation
28   in Paragraph 59.
                                                          -10-
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 1            60.   Without admitting that the study cited in Paragraph 60 of Plaintiff’s SAC is
 2   relevant to this action, that study speaks for itself and on that basis, Paragraph 60 does not
 3   require an answer. However, to the extent the allegations in Paragraph 60 do not accurately
 4   reflect the study, Premier denies the allegations.
 5            61.   Without admitting that the study cited in Paragraph 61 of Plaintiff’s SAC is
 6   relevant to this action, that study speaks for itself and, on that basis, Paragraph 61 does not
 7   require an answer. However, to the extent the allegations in Paragraph 61 do not accurately
 8   reflect the study, Premier denies the allegations.
 9            62.   Without admitting that the study cited in Paragraph 62 of Plaintiff’s SAC is
10   relevant to this action, that study speaks for itself and, on that basis, Paragraph 62 does not
11   require an answer. However, to the extent the allegations in Paragraph 62 do not accurately
12   reflect the study, Premier denies the allegations.
13            63.   Without admitting that the study cited in Paragraph 63 of Plaintiff’s SAC is
14   relevant to this action, that study speaks for itself and, on that basis, Paragraph 63 does not
15   require an answer. However, to the extent the allegations in Paragraph 63 do not accurately
16   reflect the study, Premier denies the allegations.
17            64.   Without admitting that the study cited in Paragraph 64 of Plaintiff’s SAC is
18   relevant to this action, that study speaks for itself and, on that basis, Paragraph 64 does not
19   require an answer. However, to the extent the allegations in Paragraph 64 do not accurately
20   reflect the study, Premier denies the allegations.
                                                       3
21   The Impact of Defendant’s Wrongful Conduct
22            65.   Answering Paragraph 65 of Plaintiff’s SAC, Premier admits that it sells the
23 Products as a dietary supplement to help maintain and support joint well-being, as limited by the

24 disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not

25 intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to

26

27   3
      Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
28   statement requires an answer, Premier denies this allegation in its entirety.
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 1   Premier’s advertising, marketing, packaging, and/or Product labeling, that material has varied
 2 over time and speaks for itself. Premier denies each and every other allegation in Paragraph 65

 3 not specifically admitted.

 4          66.     Answering Paragraph 66 of Plaintiff’s SAC, Paragraph 66 contains legal
 5 conclusions and to that extent does not require an answer.

 6          67.     Answering Paragraph 67 of Plaintiff’s SAC, Premier denies each of the
 7 allegations contained in Paragraph 67.

 8          68.     Paragraph 68 of Plaintiff’s SAC contains legal conclusions, and to that extent
 9 does not require an answer. To the extent that Paragraph 68 requires an answer, Premier lacks

10 sufficient knowledge or information to form a belief as to whether Ms. Montera purchased the

11 referenced Product, her belief regarding the Product or its related advertisement or labeling, and

12 her reasons for allegedly purchasing the product; on that basis, Premier denies these allegations

13 in Paragraph 68. Premier denies each and every other allegation in Paragraph 68.

14          69.     Answering Paragraph 69 of Plaintiff’s SAC, retail prices for the Products have
15 varied. Premier denies each and every other allegation in Paragraph 69.

16                          CLASS DEFINITION AND ALLEGATIONS
17          70.     Paragraph 70 of Plaintiff’s SAC contains legal conclusions, and to that extent
18 does not require an answer. To the extent that Paragraph 70 requires an answer, Premier denies

19 each of the allegations contained in Paragraph 70.

20          71.     Paragraph 71 of Plaintiff’s SAC contains legal conclusions, and to that extent
21 does not require an answer. To the extent that Paragraph 71 requires an answer, Premier denies

22 each of the allegations contained in Paragraph 71.

23          72.     Paragraph 72 of Plaintiff’s SAC contains legal conclusions, and to that extent
24 does not require an answer. To the extent that Paragraph 72 requires an answer, Premier denies

25 each of the allegations contained in Paragraph 72.

26          73.     Paragraph 73 of Plaintiff’s SAC contains legal conclusions, and to that extent
27 does not require an answer. To the extent that Paragraph 73 requires an answer, Premier denies

28 each of the allegations contained in Paragraph 73.
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 1          74.    Paragraph 74 of Plaintiff’s SAC contains legal conclusions, and to that extent
 2   does not require an answer. To the extent that Paragraph 74 requires an answer, Premier denies
 3 each of the allegations contained in Paragraph 74.

 4          75.    Paragraph 75 of Plaintiff’s SAC contains legal conclusions, and to that extent
 5 does not require an answer. To the extent that Paragraph 75 requires an answer, Premier denies

 6 each of the allegations contained in Paragraph 75.

 7          76.    Paragraph 76 of Plaintiff’s SAC contains legal conclusions, and to that extent
 8 does not require an answer. To the extent that Paragraph 76 requires an answer, Premier denies

 9 each of the allegations contained in Paragraph 76.

10          77.    Paragraph 77 of Plaintiff’s SAC contains legal conclusions, and to that extent
11 does not require an answer. To the extent that Paragraph 77 requires an answer, Premier denies

12 each of the allegations contained in Paragraph 77.

13                                       CLAIMS ALLEGED
14                                             COUNT I
15                Violation of the New York General Business Law §§ 349 and 350.
16          78.    Answering Paragraph 78 of Plaintiff’s SAC, Premier incorporates by reference
17 and repleads all of the admissions, denials, and allegations contained in Paragraph 1-77 above.

18          79.    Paragraph 79 of Plaintiff’s SAC contains legal conclusions, and to that extent
19 does not require an answer. To the extent that Paragraph 79 requires an answer, Premier denies

20 each of the allegations contained in Paragraph 79.

21          80.    Answering Paragraph 80 of Plaintiff’s SAC, Premier admits that Paragraph 80
22 contains an accurate partial quote of Section 349(a) of New York General Business Law.

23          81.    Answering Paragraph 81 of Plaintiff’s SAC, Premier admits that Paragraph 81
24 contains an accurate partial quote of Section 350 of New York General Business Law.

25          82.    Paragraph 82 of Plaintiff’s SAC contains legal conclusions, and to that extent
26 does not require an answer. To the extent that Paragraph 82 requires an answer, Premier denies

27 each of the allegations contained in Paragraph 82.

28          83.    Paragraph 83 of Plaintiff’s SAC contains legal conclusions, and to that extent
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 1   does not require an answer. To the extent that Paragraph 83 requires an answer, Premier denies
 2 each of the allegations contained in Paragraph 83.

 3           84.    Paragraph 84 of Plaintiff’s SAC contains legal conclusions, and to that extent
 4 does not require an answer. To the extent that Paragraph 84 requires an answer, Premier denies

 5 each of the allegations contained in Paragraph 84.

 6           85.    Paragraph 85 of Plaintiff’s SAC contains legal conclusions, and to that extent
 7 does not require an answer. To the extent that Paragraph 85 requires an answer, Premier denies

 8 each of the allegations contained in Paragraph 85.

 9           86.    Paragraph 86 of Plaintiff’s SAC contains legal conclusions, and to that extent
10 does not require an answer. To the extent that Paragraph 86 requires an answer, Premier denies

11 each of the allegations contained in Paragraph 86.

12           87.    Paragraph 87 of Plaintiff’s SAC contains legal conclusions, and to that extent
13 does not require an answer. To the extent that Paragraph 87 requires an answer, Premier denies

14 each of the allegations contained in Paragraph 87.

15           88.    Paragraph 88 of Plaintiff’s SAC contains legal conclusions, and to that extent
16 does not require an answer. To the extent that Paragraph 88 requires an answer, Premier denies

17 each of the allegations contained in Paragraph 88.

18           89.    Paragraph 89 of Plaintiff’s SAC contains legal conclusions, and to that extent
19 does not require an answer. To the extent that Paragraph 89 requires an answer, Premier denies

20 each of the allegations contained in Paragraph 89.

21           90.    Paragraph 90 of Plaintiff’s SAC contains legal conclusions, and to that extent
22 does not require an answer. To the extent that Paragraph 90 requires an answer, Premier denies

23 each of the allegations contained in Paragraph 90.

24                                            JURY DEMAND
25           Premier respectfully makes a demand for a trial by jury on claims and issues so triable.
26                                       REQUEST FOR RELIEF
27           Premier denies that Plaintiff is entitled to any of the relief sought in her Request for
28 Relief.
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 1                                       AFFIRMATIVE DEFENSES
 2           Without assuming the burden of proof on any matters that would otherwise rest with
 3   Plaintiff, and expressly denying any and all wrongdoing, Premier alleges the following
 4   additional reasons why Plaintiff is not entitled to any relief:
 5                                  FIRST AFFIRMATIVE DEFENSE
 6                                     (Equitable Relief Unavailable)
 7           Plaintiff is not entitled to equitable relief because, if Plaintiff is entitled to a remedy,
 8   which Premier denies, Plaintiff has adequate legal remedies. No threat of immediate harm exists
 9   sufficient to support a grant of injunctive relief.
10                                 SECOND AFFIRMATIVE DEFENSE
11                                        (Failure to State a Claim)
12           The SAC fails to state a claim against Premier on which relief can be granted.
13                                  THIRD AFFIRMATIVE DEFENSE
14                                               (No Standing)
15           Plaintiff is not entitled to relief under the statutes and legal theories invoked in her SAC
16   because Plaintiff lacks standing.
17                                FOURTH AFFIRMATIVE DEFENSE
18                                     (No Deceptive Act or Practice)
19           Plaintiff’s claims are barred, in whole or in part, because there was no deceptive act or
20   practice. Each and every representation and advertisement for the Products clearly and
21   accurately portrayed the characteristics, ingredients, uses, benefits, quantities, standard, quality,
22   and grade of the Products.
23                                  FIFTH AFFIRMATIVE DEFENSE
24                                          (No Intent to Deceive)
25           Plaintiff is precluded from recovery on her fraud- and misrepresentation-based claims
26   because the misrepresentations and actions alleged by Plaintiff were not intended to deceive
27   Plaintiff.
28
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 1                                   SIXTH AFFIRMATIVE DEFENSE
 2                                     (Not Likely to Mislead Public)
 3          None of Premier’s acts, conduct, omissions, or statements alleged in the SAC were
 4   likely to mislead the public.
 5                               SEVENTH AFFIRMATIVE DEFENSE
 6                                      (Lack of Justifiable Reliance)
 7          Plaintiff’s claims are barred, in whole or in part, because Plaintiff knew, at all times, the
 8   characteristics, ingredients, uses, benefits, quantities, standard, quality, and grade of the joint
 9   Juice Products and therefore could not have justifiably relied on the alleged misrepresentation or
10   omissions asserted in her SAC.
11                                   EIGHTH AFFIRMATIVE DEFENSE
12                                        (Performance of Duties)
13          Premier has fully performed any and all contractual, statutory, and other duties, and
14   Plaintiff is therefore estopped from asserting any cause of action against Premier.
15                                   NINTH AFFIRMATIVE DEFENSE
16                                       (Substantial Compliance)
17          Premier has substantially complied with the requirements of the law as they pertain to
18   this lawsuit and such substantial compliance bars Plaintiff’s claims.
19                                   TENTH AFFIRMATIVE DEFENSE
20                                              (Preemption)
21          All or some of the alleged causes of action are preempted by federal law.
22                              ELEVENTH AFFIRMATIVE DEFENSE
23                                              (Safe Harbor)
24          Plaintiff’s allegations do not state a claim, because Premier’s conduct was, and is,
25   authorized by federal and state law.
26                               TWELFTH AFFIRMATIVE DEFENSE
27                      (Actions Pursuant to Local, State or Federal Authority)
28          Premier is not liable for any acts or omissions undertaken by or at the direction of local,
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 1   state or federal authority, including, without limitation, acts or omissions made in accordance
 2 with regulations, ordinances, statutes, and laws applicable at the time of the acts or omissions at

 3   issue.
 4                             THIRTEENTH AFFIRMATIVE DEFENSE
 5                                         (Conduct Not Unfair)
 6            The representations and advertising regarding the Products are not unfair. No
 7 representation or advertisement contains any false or misleading statement or promises any

 8 good not intended to be delivered. As such, the representations and advertising are not, and

 9 were not, unfair.

10                            FOURTEENTH AFFIRMATIVE DEFENSE
11                                        (Conduct Not Unlawful)
12            The representations and advertising regarding the Products are not unlawful because
13 they are not, and were not, in violation of any law or regulation.

14                              FIFTEENTH AFFIRMATIVE DEFENSE
15                                            (Cause In Fact)
16            No act or omission by Premier or by any person or entity for which Premier was
17 responsible was the cause of any injury in fact, damages, or loss of money or property alleged

18   by Plaintiff.
19                              SIXTEENTH AFFIRMATIVE DEFENSE
20                                         (No Proximate Cause)
21            Plaintiff’s claims are barred, in whole or in part, because Premier has not engaged in any
22   activity or conduct that is a proximate cause of any injury in fact, damages, or loss of money or
23   property alleged by Plaintiff.
24                            SEVENTEENTH AFFIRMATIVE DEFENSE
25                                         (Superseding Causes)
26            Any and all violations alleged in Plaintiff’s SAC were the result of superseding or
27   intervening causes arising from the acts or omissions of parties that Premier neither controlled
28   nor had a legal right to control, and such alleged violations were not proximately or otherwise
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 1   caused by any act, omission, or other conduct of Premier.
 2                               EIGHTEENTH AFFIRMATIVE DEFENSE
 3                                          (Failure to Mitigate)
 4           If Plaintiff has suffered any damages or injury in fact, which Premier expressly denies,
 5   Premier alleges that Plaintiff’s recovery is barred by her failure to mitigate, reduce, or otherwise
 6   avoid damages or injuries.
 7                               NINETEENTH AFFIRMATIVE DEFENSE
 8                                         (Aggravation of Harm)
 9           To the extent any harm exists, Premier is informed and believes and, on that basis,
10   alleges that Plaintiff’s actions have aggravated such harm, and thus, any recovery from
11   Plaintiff’s SAC for such harm should be barred or reduced accordingly.
12                               TWENTIETH AFFIRMATIVE DEFENSE
13                              (Equitable Estoppel and Equitable Indemnity)
14           Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrines of equitable
15   estoppel and equitable indemnity.
16                              TWENTY-FIRST AFFIRMATIVE DEFENSE
17                                 (Res Judicata and Collateral Estoppel)
18           All or some of Plaintiff’s alleged claims and issues are barred by prior judgment by the
19   doctrines of res judicata and collateral estoppel.
20                          TWENTY-SECOND AFFIRMATIVE DEFENSE
21                                                (Waiver)
22           Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrine of waiver.
23                              TWENTY-THIRD AFFIRMATIVE DEFENSE
24                                        (Statute of Limitations)
25           Plaintiff’s claims and damages are barred, reduced, and/or limited by the applicable
26   statutes of limitations.
27   //
28   //
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 1                         TWENTY-FOURTH AFFIRMATIVE DEFENSE
 2                                                 (Laches)
 3          By virtue of Plaintiff’s unreasonable delay in commencing this action, which duly has
 4   caused prejudice to Premier, the SAC and each purported cause of action asserted therein are
 5   barred by the doctrine of laches.
 6                          TWENTY-FIFTH AFFIRMATIVE DEFENSE
 7                                             (Unclean Hands)
 8          The SAC and each and every purported claim against Premier is barred by the doctrine
 9   of unclean hands in that Plaintiff’s own actions have caused the damages Plaintiff may have
10   incurred, if any.
11                          TWENTY-SIXTH AFFIRMATIVE DEFENSE
12                                             (No Actual Injury)
13          Plaintiff is not entitled to relief under the legal theories invoked in the SAC because
14   Plaintiff suffered no actual injury and suffered no damages.
15                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE
16                                 (Not Maintainable As Class Action)
17          Premier alleges that this action is barred in whole or in part because Plaintiff’s claims
18   are not maintainable as a class action.
19                         TWENTY-EIGHTH AFFIRMATIVE DEFENSE
20                                          (Unjust Enrichment)
21          Any award to the Plaintiff in this action would constitute unjust enrichment.
22                          TWENTY-NINTH AFFIRMATIVE DEFENSE
23                                       (Attorneys’ Fees Improper)
24          Plaintiff’s SAC fails to state a claim or set forth facts sufficient to support a claim for
25   attorneys’ fees.
26                             THIRTIETH AFFIRMATIVE DEFENSE
27                                               (Uncertainty)
28          The SAC and the cause of action therein presented are vague, ambiguous, and uncertain.
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 1   Premier reserves the right to add additional defenses as the factual bases for each of Plaintiff’s
 2   claims and allegations becomes known.
 3                           THIRTY-FIRST AFFIRMATIVE DEFENSE
 4                                                (Puffing)
 5          Plaintiff’s claims are barred to the extent that any alleged deceptive statements constitute
 6   puffery, and no reasonable person in Plaintiff’s position could have reasonably relied on or
 7 misunderstood Premier’s statements.

 8                          THIRTY-SECOND AFFIRMATIVE DEFENSE
 9                                               (Mootness)
10          Plaintiff is not entitled to an injunction to the extent Premier has already ceased the
11   allegedly unlawful conduct.
12                           THIRTY-THIRD AFFIRMATIVE DEFENSE
13                                   (Equities in Favor of Defendants)
14          Plaintiff is barred from recovering the relief sought in the SAC because the equities
15   weigh in favor of Premier.
16                          THIRTY-FOURTH AFFIRMATIVE DEFENSE
17                                  (Violation of Right to Free Speech)
18          To the extent Plaintiff purports to seek equitable relief to mandate the specific content of
19   Premier’s advertising or the content of the Products labels, Plaintiff’s SAC violates Premier’s
20   right to freedom of speech under the First Amendment of the United States Constitution and the
21   New York Constitution, Article I, § 8.
22                           THIRTY-FIFTH AFFIRMATIVE DEFENSE
23                                                (Set-off)
24          Any recovery by Plaintiff should be offset and diminished by the value to the general
25   public of the use of the Products.
26                           THIRTY-SIXTH AFFIRMATIVE DEFENSE
27                                 (Punitive Damages Are Not Available)
28          Plaintiff’s claims do not permit the recovery of punitive damages.
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 1                          THIRTY-SEVENTH AFFIRMATIVE DEFENSE
 2                                 (Statutory Damages Are Not Available)
 3          The requirements for statutory damages under New York General Business Law §§ 349
 4   and 350 are not met.
 5                          THIRTY-EIGHTH AFFIRMATIVE DEFENSE
 6                               (Statutory Damages Are Unconstitutional)
 7          The statutory damages sought violate due process.
 8                            THIRTY-NINTH AFFIRMATIVE DEFENSE
 9                                  (Reservation of Additional Defenses)
10          Premier hereby reserves the right to amend its answer to raise additional affirmative
11   defenses as they become available or apparent to it through discovery in this matter or
12   otherwise.
13   WHEREFORE, having fully answered Plaintiff’s SAC, Premier prays for judgment as follows:
14          1.      That Plaintiff takes nothing for her SAC and that the SAC be dismissed with
15                  prejudice;
16          2.      That the request for injunctive relief be denied;
17          3.      That Premier be awarded its costs of suit;
18          4.      That the request for attorneys’ fees and costs by Plaintiff and her counsel be
19                  denied; and,
20          5.      For such other and further relief as the Court deems just and proper.
21

22    Dated: April 14, 2022                          VENABLE LLP
23

24                                                   By:
25                                                           ANGEL A. GARGANTA
                                                             101 California Street, Suite 3800
26                                                           San Francisco, CA 94111
                                                             Tel: 415/653-3750
27                                                           415/653-3755 (fax)
28
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